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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

CAMPAIGN LEGAL CENTER,
Plaintiff,

v. Case No. 1:20-cv-1778-RCL

FEDERAL ELECTION COMISSION,

Defendant.

 

 

ORDER
Before the Court is the plaintiffs motion [9] for default judgment.
The Court FINDS:
e that the defendant has failed to defend this action and is not is not an infant or
incompetent person or in the military service of the United States;
e that a default was properly entered against the defendant, ECF No. 13; see also
Order, ECF No. 12;
e that that the defendant’s failure to act on the administrative complaint designated
as MUR 7674 is contrary to law;! and,
e that the plaintiff has incurred costs, as defined under 28 U.S.C. § 1920, in the

amount of $400 in bringing this action.

 

! Whether a Court may find that an agency has unlawfully withheld action when the agency has too few members to
muster a quorum is an open question. See Arizona v. Inter Tribal Council of Ariz., Inc., 570 U.S. 1, 19 n.10 (2013)
(“It is a nice point, which we need not resolve here, whether a court can compel agency action that the agency itself,
for lack of the statutorily required quorum, is incapable of taking.”). The defendant, however, had a quorum during
the pendency of MUR 7674 from May 19, 2020 to July 3, 2020. See Cong. Rec. $2500 (daily ed. May 29, 2020)
(confirming James E. Trainor II] as an FEC Commissioner); Letter from FEC Commissioner Caroline C. Hunter to
President Donald J. Trump (June 26, 2013) (resigning effective July 3, 2020). As the defendant was statutorily capable
of acting on the complaint during that period, the Court need not address the question left open in Inter Tribal Council.
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Therefore, upon consideration of the motion and supporting affidavit and exhibits; it is
ORDERED and ADJUDGED that, pursuant to Fed. R. Civ. P. 55(b), default judgment be entered
in favor of the plaintiff and against the defendant.

It is further ORDERED that, pursuant to 52 U.S.C. § 30109(a)(8)(C), Defendant conform
to this Court’s Order within ninety days by acting on the plaintiff's administrative complaint.

It is further ORDERED that this Court shall retain jurisdiction over this matter until the
defendant takes final agency action with respect to the plaintiff's administrative complaint. See
Cobell v. Norton, 240 F.3d 1081, 1109 (D.C. Cir. 2001) (noting district court’s discretion to “retain
jurisdiction until a federal agency has complied with its legal obligations” and to “compel regular
progress reports in the meantime”); Alegent Health-Immanuel Med. Ctr. v. Sebelius, 917 F. Supp.
2d 1, 3 (D.D.C. 2012) (noting that court may retain jurisdiction in “cases alleging unreasonable
delay of agency action”).

It is further ORDERED that Defendant pay Plaintiff $400 in costs associated with filing
this action pursuant to 28 U.S.C. § 1920.

Cpe abate

Date: ol [20 —_ Royce C. Lamberth
United States District Judge

 
